JS 44 (Rev_ 06/17) - TXND (Rev_ 06/17)

The JS 44 civil cover sg@_§@ t§e:ilfz&&¥§p@§§izd’€ereiglg§y

provided by local rules of court. This form, approved by the J udicial Co

I. (a) PLAINTIFFS
Shea Renaissance, LLC

(b) County of Residence of First Listed Plaintiff` Tarrant
(EXCEFTIN U.S. PLAINTIFF CASES)

(C) AttOm ey$ (Firm Name, Address, and Telephone Number)
Levi McCathem, 11, Joseph Sampson, and Brett Chisum, McCathem, PLLC,
3710 Rawlins, Ste. 1600, Dallas, Texas 75219, tel 214-741-2662

CIVIL COVER SHEET
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rence of the
purpose of initiating the civil docket sheet. (SEE !NSTRUCTIONS ON NEXTPAGE OF IYHSFORM.)

DEFENDANTS
Peleus lnsurance Company

nited States in

County of Residence

Attom€ys (IfKnown)

 

gs or other papers as
eptember 1974, is required for the use of th

of First Listed Defendant

Page|D 7

reguired by law, except as
e lerk of Court for the

(]N U.S. PLAINTIFF CASES ONLY)

NOTE: l`N LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Stephen Wedemeyer and Amparo Yanez Guerra, Winstead PC, 600 Travis
St., Ste. 1100, Houston, Texas 77002, tel: 713-650-8400

 

H. BASIS OF JURISDICTION (Place an "X" in One Box Only)

 

(For Diversily Cases On/y)

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Boxfor P/aint{

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

Cl l U.S. Govemment Cl 3 Federa.l Question PTF DEF PTF DEF
PlaintiFf (U.S. Gr)vemmenl Nr)l a Party) Citizen of This State Cl ' 1 Cl 1 Incorporated or Principa] Place El 4 D 4
of Business 1n This State
\J 2 U.S. Govemment 5 4 Diversity Citizen of Another State El 2 Cl 2 Incorporated andPn`ncipal Place m 5 3 5
Defendant (lndicale Citizensth afParlies in llem III) of Business In Another State
Citizen or Subject of a 13 3 |Il 3 Foreign Nation Cl 6 13 6
Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Only) Click here for: Nature of Suit Code Descrigtions.
l CONTR‘ACT ‘TORTS ~ \" ‘ FORFEITURE/PENALW ll ‘ » l ` BANKRUPTGY l 1 ‘ OTHER STATU"I'E 1
12{ 1 101nsurance PERSONAL INJURY PERSONAL INJURY Cl 625 Drug Related Seizure Cl 422 Appeal 28 USC 158 D 375 False Claims Act
D 120 Man`ne Cl 310 Airplane CI 365 Personal Injury - of Property 21 USC 881 Cl 423 Withdrawal D 376 Qui Tam (31 USC
0 130 Miller Act |:l 315 Airplane Product Product Liability D 690 Other 28 USC 157 3729(a))
El 140 Negotiable Instrument Liability El 367 Health Care/ IJ 400 State Reappox‘tionment
13 150 Recovery of Overpayment El 320 Assault, Libel & Pharmaceutical PROPERTY RI§§H §§ Cl 410 Antitrust
& Enforcement of.ludgment Slander Personal Injury U 820 Copyrights Cl 430 Banks and Banking
|J 151 Medicare Act |J 330 Federal Employers’ Product Liability C] 830 Patent IJ 450 Cornmerce
CI 152 Recovery of Defaulted Liability Cl 368 Asbestos Persona.l 13 835 Patent - Abbreviated El 460 Deportation
Student Loans 13 340 Marine Injury Product New Drug Application El 470 Racketeer Influenced and
(Excludes Veterans) Cl 345 Marine Product Liability D 840 Trademark Con'upt Organizations
Cl 153 Recovery of Overpayment Liability PERSONAL PROPER'I'Y ` d ~LABOR SOClAL SECURITY El 480 Consumer Credit
of Veteran’s BeneEts El 350 Motor Vehicle Cl 370 Other Fraud Cl 710 Fair Labor Standa.rds Cl 861 HIA (13955) D 490 Cable/Sat TV
lj 160 Stocl<holders’ Suits Cl 355 Motor Vehicle Cl 371 Truth in Lending Act Cl 862 Black Lung (923) El 850 Securities/Commodities/
Cl 190 Other Contract Product Liability 0 380 Other Personal Cl 720 Labor/Management [J 863 DIWC/DIWW (405(g)) Exchange
Cl 195 Conn'act Product Liability [J 360 Other Personal Propert'y Damage Rclations |I] 864 SSID Title XVI E| 890 Other Statutory Actions
Cl 196 Franchise Injury Cl 385 Property Damage Cl 740 Railway Labor Act Cl 865 RSI (405(g)) Cl 891 Agricultural Acts
EI 362 Persona.l Injury - Product Liability Cl 751 Family and Medical CI 893 Environrnenta] Matters
Medica.l Malpracdce Leave Act D 895 Freedom of lnformation
| REALPROPERTY! CWIL RIGHTS PRISONER PETITIONS l D 790 Other Labor Litigan'on FEDERAL TAX SUITS ' Act
Cl 210 Land Condemnation El 440 Other Civil Rights Habeas Corpus: El 791 Employee Retirement CI 870 Taxes (U.S. Plaintiff Cl 896 Arbitration
U 220 Foreclosure Cl 441 Voting CJ 463 Alien Detajnee locome Security Act or Defendant) |J 899 Administrative Procedure
Cl 230 Rent Lease & Ejecnnent C] 442 Employment Cl 510 Mon'ons to Vacate El 871 IRS_'I`hird Party Act/Review or Appeal of
IJ 240 Tcrts to Land CJ 443 Housing/ Sentence 26 USC 7609 Agency Decision
D 245 Tort Product Liability Accommodations 111 530 General CJ 950 Constitutionality of
Cl 290 All Other Real Property El 445 Amer. waisabiIities - 13 535 Death Penalty ~ ` IMMIGRATION State Statutes
Employment Other: Cl 462 Naturalization Applicau'on
El 446 Amer. w/Disabilities - Cl 540 Mandamus & Other Cl 465 Other Immigration
Otber D 550 Civil Rights Acn'ons
Cl 448 Education Cl 555 Pn`son Condition
Cl 560 Civil Detainee -
Conditions of
Confinernent

 

 

 

 

 

 

V. ORIGIN (Place an “ " in One Box 0nly)
Cl l

Original XZ Removed from Cl 3 Remanded from |J 4 Reinstated or El 5 Transfen»ed from IJ 6 Multidistn`ct El 8 Mil_ltidistrict
Proceeding State Court Appellate Court Reopened Another Distri¢t thigation - L_1t1gatic_m -
(speccjj)) Transfer Drrect Flle

 

28 U.S.C. sec. 1332
Brief description of cause:

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing

Plaintiff alleges breach of insurance contract and related causes.

(Do not cite jurisdica'onal statutes unless diver;s'ity)!

 

 

 

 

 

VII. REQUESTED IN Cl cHEcK IF THIS ls A CLASS ACTION DEMAND $ CHECK YES duly if demanded in complaint

COMPLAINT: UNDER RULE 23, F.RCv-P- 1,000,000_00 JURY I)EMAND: 1a Yes ciNo
VIII. RELATED CASE(S) S

' .l t' . :
IF ANY (ee'mmmm) JUDGE Judge Tom Lovge DOCKET NUMBER 236-294361-17
ll l l
DATE SIGNATURE OF A'ITO Y F CORD
10/25/2017
FOR 0FF1CE USE ONLY V
RECEIP’I` # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

 

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INSTRUCTIONS FOR ATTORNEYS COMPLETING ClVlL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974` is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently_. a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant lf the plaintiff or defendant is a government agency,

use only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

(b) County of Residcnce. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at
the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: ln land
condemnation cases` the county of residence of the "def`endant" is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
noting in this section "(see attachment)".

ll. Jurisdiction. The basis of jurisdiction is set forth under Rule S(a), F.R.Cv,P., which requires that jurisdictions be shown in pleadings Place an
"X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff (l) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress "or a treaty of the United States. ln cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence_. and box l or 2 should be marked.
Diversity of citizenship (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

III. Residence (citizcnship) of Principal Parties. This section of the JS 44 is to be completed if diversity of` citizenship was indicated above. Mark
this section for each principal party.

IV. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit
code that is most applicable Click here for: Nature of` Suit Code Descriptions.

V. Origin. Place an "X" in one of the seven boxcs.
Original Proceedings. (l) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C.. Section 1441.
When the petition for removal is granted_. check this hox.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section l404(a). Do not use this for within district transfers or
multidistrict litigation transfers
Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.
Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
I’LEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite
jurisdictional statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII. Requcsted in Complaiot. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction
Jury Demand. Check the appropriate box to indicate whether or not ajury is being demanded

VIII. Relatcd Cases. This section of the JS 44 is used to reference related pending cases, if any. If a related case exists, whether pending or closed,
insert the docket numbers and the corresponding judge names for such cases. A case is related to this filing if the case: l) involves some or all of the
same parties and is based on the same or similar claim; 2) involves the same property, transaction, or event: 3) involves substantially similar issues of
law and fact; and/or 4) involves the same estate in a bankruptcy appeal.

Date and Attorney Signature. Date and sign the civil cover sheet.

